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                                   STATEMENT OF FACTS

        Your affiant is a Special Agent with the Federal Bureau of Investigation (FBI) and I am
currently assigned to the FBI’s Minneapolis, Minnesota Field Office. Currently, I am tasked with
investigating criminal activity in and around the U.S. Capitol grounds on January 6, 2021. As a
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detection, investigation, and prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

       On January 6, 2021, a joint session of the U.S. Congress convened at the U.S. Capitol,
which is located at First Street, SE, in Washington, D.C. During the joint session, elected members
of the United States House of Representatives and the United States Senate were meeting in
separate chambers of the United States Capitol to certify the vote count of the Electoral College of
the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

               Evidence Linking JORDAN STOTTS to Assault on the U.S. Capitol

         On or about January 8, 2021, the FBI Minneapolis Field Office received a tip from an
individual identified as Witness-1. On or about January 9, 2021, the FBI conducted an interview
via telephone with Witness-1. Witness 1 identified him-/herself as a former classmate of JORDAN
STOTTS. According to Witness-1, s/he observed on social media, particularly Facebook,
statements and photos purportedly posted by JORDAN STOTTS that indicated he was involved
in the riot at the Capitol building on January 6, 2021. Witness-1 provided the FBI with three such
screenshots from JORDAN STOTTS’ Facebook page.

       According to records obtained through a search warrant served on Facebook, law
enforcement confirmed that the screenshots provided by Witness-1 were in fact of posts made on
JORDAN STOTTS’ Facebook page. One of the posts stated:

               For too long our voices have gone unheard! For too long our lives
               have been slowly taken! For too long has Satan ran this country!
               They attack our religious freedom, freedom of speech, and our
               freedom to do as we please! They work for us and have no right
               telling us what we can and can’t do! I’m sick of it and so are the
               Patriots! With God on our side we will prevail!

       A second post stated:

               The story of the siege: It all started by scaling a wall as we broke
               into the U.S. Capital [sic] to strike fear into the sold out Congress.
               We were tear gassed and 2 people were shot. We were peaceful but
               the police were not. Police were aggressive and on the wrong side!
               They got us out but it’s far from over! 1776!

         The records also contained a photo taken from the steps of the Capitol building with the
following comment: “Patriots! I got kicked out but I’ll be back!” The records also contained a
360-degree video from inside the Capitol rotunda. According to the records obtained from
Facebook, on or about January 8, 2021, the following was posted to JORDAN STOTTS’ Facebook
page: “They call us terrorists, we are patriots. Each one a George Washington! Most of them are
Benedict Arnolds! Sold out to China and Satan!” Later that same day, the following was posted
to JORDAN STOTTS’ Facebook page: “Peace Out Facebook! Apparently I’m a wanted man and
will be going off the grid for a while!”

        On or about January 15, 2021, your affiant sent JORDAN STOTTS a text message
requesting that he call the FBI. On or about January 16, 2021, JORDAN STOTTS called your
affiant and agreed to meet for an in-person interview. Your affiant offered to conduct the
interview at JORDAN STOTTS’ brother’s residence, where JORDAN STOTTS resided at the
time, but JORDAN STOTTS requested that the interview be conducted in a more private setting.
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So, on or about January 18, 2021, your affiant conducted an audio recorded interview of JORDAN
STOTTS at the Moorhead Police Department in Moorhead, Minnesota. Your affiant advised
JORDAN STOTTS that the interview was voluntary, that he was not being detained, and that he
could leave at any time.

        JORDAN STOTTS stated to your affiant that he works in greenhouses and nurseries during
the summer, and decided to travel in his van during the winter. In early January 2021, he decided
to drive alone to Washington, D.C. to attend a rally for President Trump. JORDAN STOTTS
stated that he wanted “to make his voice heard and be a part of it.” He stated he was a supporter
of President Trump and saw that President Trump wanted supporters to come to Washington, D.C.
for a rally. According to JORDAN STOTTS, he arrived in Washington, D.C. on or about January
4, 2021. He stayed in his van overnight parked at a state park in Virginia and then attended a rally
at Freedom Plaza on or about January 5, 2021. Law enforcement confirmed that JORDAN
STOTTS’ van passed by a license plate reader in Washington, D.C. on or about January 4, 2021.

        JORDAN STOTTS told your affiant that on or about January 6, 2021, he attended a rally
for President Trump near the White House. He arrived at approximately 8:30 a.m., and parked his
van near the Martin Luther King, Jr. Memorial. At approximately 2:00 p.m., after President Trump
finished speaking, JORDAN STOTTS walked with other rally attendees to the Capitol building.
JORDAN STOTTS admitted to your affiant that when he got to the Capitol, he climbed onto a
balcony and chanted with the crowd. At approximately 2:45 p.m., JORDAN STOTTS entered the
Capitol building through a door located on the left of the main entrance to the Capitol building.
During the interview, JORDAN STOTTS informed your affiant that on January 6, 2021, he was
wearing the same brown knit cap, brown canvas coat, and blue-framed glasses that he was wearing
on the day of the interview with your affiant.

        According to JORDAN STOTTS, once inside the Capitol building, he walked to the
rotunda area and stayed inside for approximately one hour. JORDAN STOTTS admitted to your
affiant that he used his cell phone to record videos while inside the Capitol building, including a
short 360-degree video in the rotunda that he then posted to his Facebook page. A still image of
that video is shown below:
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        Law enforcement reviewed and collected video provided by the U.S. Capitol Police, which
includes security camera footage inside and outside of the U.S. Capitol building. While reviewing
this footage, your affiant observed an individual who appears to be JORDAN STOTTS, wearing
the same brown knit cap, brown canvas coat, and glasses that your affiant observed JORDAN
STOTTS wearing during the January 18, 2021 interview with your affiant. Your affiant observed
in the video JORDAN STOTTS moving throughout the rotunda, engaging with other protesters,
and taking a 360-degree video of the rotunda with his cell phone. The following images are a
sampling of screenshots obtained from that footage. JORDAN STOTTS is circled in red.




       JORDAN STOTTS further stated to your affiant that after he exited the Capitol building,
he took a photo, shown below, of the crowd on the steps of the Capitol building and posted that
photo to his Facebook page.
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       Based on the aforementioned evidence, there is probable cause to believe that JORDAN
STOTTS was present inside the U.S. Capitol building during the riot and related offenses that
occurred at the U.S. Capitol building, located at 1 First Street, NW, Washington, D.C. 20510 on
January 6, 2021 and participated in the obstruction of the Congressional proceedings.

         Accordingly, your affiant submits that there is probable cause to believe that JORDAN
STOTTS violated 18 U.S.C. § l 752(a)(l ) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a "restricted building" includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that JORDAN STOTTS
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                     Chris�udley, Special Agent
                                                     Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 16th day ofMarch 2021.



HON. ROBIN M. MERIWEATHER
U.S.MAGISTRATE JUDGE
